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                                      U.S. Department of Justice
[Type text]
                                                     United States Attorney
P                                                    Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                     January 29, 2020

BY ECF
The Honorable Claire C. Cecchi
United States District Court
District of New Jersey
50 Walnut Street
Newark, NJ 07101

       Re:     Hana v. United States, 20 Cv. 536 (CCC)

Dear Judge Cecchi:

       The Government respectfully writes to notify the Court that at approximately 4:00 p.m.
yesterday, agents from the Federal Bureau of Investigation (the “FBI”) returned to the offices of
Larry Lustberg, Esq., and Anne Collart, Esq., counsel to the Plaintiff, copies of all physical
documents seized during searches of the Plaintiff’s home and office, the Plaintiff’s passport, and
jewelry and currency seized from the Plaintiff’s home.

        The FBI also had intended to deliver an external hard drive containing electronic images
of those devices seized from the Plaintiff’s home and office that the FBI had successfully accessed
and imaged. Due to a disruption in the FBI’s network that occurred this past weekend, however,
the device images failed to upload to the hard drive. The FBI is in the process of re-uploading the
device images to the hard drive and plans to deliver the drive to Mr. Lustberg and Ms. Collart this
Friday, January 31, 2020. The Government will notify the Court once the hard drive has been
delivered.


                                                     Respectfully submitted,
                                                     GEOFFREY S. BERMAN
                                                     United States Attorney

                                             By:     /s/
                                                     Gillian Grossman / Jason Richman
                                                     Assistant United States Attorneys
                                                     (212) 637-2188 / 2589


cc:    Larry Lustberg, Esq. and Anne Collart, Esq. (by ECF)
